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7                  IN THE UNITED STATES DISTRICT COURT FOR THE
8                          EASTERN DISTRICT OF CALIFORNIA
9
10 UNITED STATES OF AMERICA,            )     1:07-MJ-00233 SMS
                                        )     1:07-CR-00254 LJO
11                Plaintiff,            )
                                        )     ORDER
12      v.                              )
                                        )
13 GLORIA RADFORD, ET AL.               )
                                        )
14                Defendants.           )
                                        )
15                                      )
16
17       IT IS HEREBY ORDERED that the transcript of proceedings dated
18 October 5, 2007, is ORDERED UNSEALED for all further purposes.
19
20 Dated: June 3, 2008
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22
                                             /s/ Sandra M. Snyder
23                                           SANDRA M. SNYDER
                                             United States Magistrate Judge
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